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WESTERN DISTRICT OF WASHINGTON AT My
BY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

VIACOM CUTDOOR, INC , a Delaware
corporation, and A. J. WEBB B
CONSTRUCTION COMPANY, NO cvO3 5023 Ie
Plaintiffs/Petitioners, NOTIFICATION OF FILING OF
NOTICE OF REMOVAL
VS
CLALLAM COUNTY, a Washington UURIVNY G10 TAN A 0 A
municipal corporation, URE) 001 GSO VU AA UO) A
Defendant/Respondent CV 03-5023 FI
TO VIACOM OUTDOOR, INC and A J WEBB CONSTRUCTION CO,
Plaintiffs

AND TO DAVIS WRIGHT TREMAINE LLP and JOHN E KEEGAN,
Attorneys for Plaintiffs

EACH OF YOU WILL PLEASE TAKE NOTICE that defendant Clallam County in
the above-entitled action has this date filed 1ts Notice of Removal of its action in the Office of
the Clerk of the United States District Court for the Western District of Washington at

Tacoma <A copy of the Notice 1s attached hereto

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NOTIFICATION OF FILING OF NOTICE OF LEE SMART COOK MARTIN & PATTERSON
REMOVAL - 1 PS , fae

1800 One Convention Place # 701 Pike Street # Seattle, WA 98101-3924
(206) 624-7990 @ Loll-free (877) 624-7990 @ F acsttule (206) 624-5944
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YOU ARE FURTHER ADVISED that defendant, upon filing of the Notice of
Removal, also filed a copy of the Notice with the Clerk of the Supenor Court for Kitsap
County, thus effecting removal of the action under 28 US C Section 1446(d)

DATED this _ 1.3 day of January, 2003

LEE SMART COOK MARTIN &
PATTERSON, PS , INC.

By.

Duncan K Fobes, No 14964
William R. Kiendl, WSBA No 23169
Of Attorneys for Defendant/Respondent
Clallam County

DECLARATION OF SERVICE

The undersigned certifies under penalty of perjury under the laws of the State of
Washington that on the below date, I mailed or caused delivery of a true and accurate copy of

this document to

John E Keegan

Bruce E H Johnson

Davis Wright Tremaine LLP
1501 Fourth Avenue, Suite 2600
Seattle, WA 98101-1688

DATED this t day of January, 2003, at Seattle, Washington

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EXHIBIT A
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Case $:03-cv-Cames-RBL Document 1 Filed oN Page 4 of 24

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

VIACOM OUTDOOR, INC , a Delaware
corporation, and A J WEBB
CONSTRUCTION COMPANY,
Plarntiffs/Petitioners,
vs.

CLALLAM COUNTY, a Washington
municipal corporation,

Defendant/Respondent.

TO: THE CLERK OF THE COURT

NO
NOTICE OF REMOVAL

Clerk’s Action Required

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

Defendant Clallam County, by its undersigned attorneys, states.

4 The above action was filed on December 31, 2002, and is pending in the

Supenor Court of the State of Washington for Kitsap County, under Cause No 02-2-04213-1

Defendant was served on December 31, 2002.

2. On or about January 3, 2003, Lee, Smart, Cook, Martin & Patterson, PS , Inc

obtained copies of the Summons and Land Use Petition and Complaint for Declaratory

{861502 DOC]

NOTICE OF REMOVAL - 1

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LEE SMART COOK MARTIN & PATTERSON
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Judgment, Just Compensation and Damages in the above-captioned action as attorneys for
defendant Copies of the Summons and Land Use Petition and Complaint for Declaratory
Judgment, Just Compensation and Damages are attached hereto

3 Pursuant to 28 USC Section 1446(b), this Notice of Removal 1s filed within
thirty (30) days after service of the Land Use Petition and Complaint for Declaratory
Judgment, Just Compensation and Damages.

4 Plaintiffs’ Land Use Petition and Complaint for Declaratory Judgment, Just
Compensation and Damages alleges, among other things, that defendant deprived plaintiffs of
property mghts, substantive due process, speech mghts, civil mghts, and other nghts in
violation of the Fifth and Fourteenth Amendments to the Constitution of the United States,
and in violation of the Uniform Relocation and Assistance and Real Property Act of 1970, 42
USC Section 4601, actionable pursuant to 42 USC Section 1983 See Land Use Petition
and Complaint for Declaratory Judgment, Just Compensation and Damages, Jf 28, 41, 44, 47,
49,52 This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C
Section 1331,

5 The above-captioned action may be removed to this Court pursuant to 28
USC Section 144] and 28 USC Section 1443 This Court 1s a distnct court of the United
States for the district and division embracing the place where the state court action 1s pending,
and is therefore the appropriate Court for removal pursuant to 28 U.S C. Section 1441
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Case $:03-cv- Ogee RBL Document 1 Filed oe Page 6 of 24

DATED this . 3 day of January, 2003

LEE SMART COOK MARTIN &
PATTERSON, P.S., INC

By Se ALTA. A -—_—
Duncan K Fobes, WSBA No. 14964
William R Kiendi, WSBA No 23169
Of Attorneys for Defendant/Respondent
Clallam County

DECLARATION OF SERVICE

The undersigned certifies under penalty of peryury under the laws of the State of
Washington that on the below date, I mailed or caused delivery of a true and accurate copy of

this document to

John E Keegan

Bruce E H Johnson

Davis Wnght Tremaine LLP
1501 Fourth Avenue, Suite 2600
Seattle, WA 98101-1688

DATED this { S day of January, 2003, at Seattle, Washington.

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Case 8:08-cv- Cars -RBL Document 1 Filed ous Page 8 of 24

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR THE COUNTY OF KITSAP

VIACOM OUTDOOR, ENC,, a Delaware )

corporation; and A. J. WEBB CONSTRUCTION)

COMPANY, y No.
)

Plaintiffs/Petitioners, ) SUMMONS
v

CLALLAM COUNTY, a Washington municipal
corporation,

Defendant/Respondent. )

TO THE DEFENDANT A lawsuit has been started against you in the above-entitled
Court by Viacom Outdoor, Inc and A J Webb Construction Company, Plaintiff. Plaintiffs’ claum
is stated in the written complaint, a copy of which ts served upon you with this summons

In order to defend against this lawsuit, you must respond to the complaint by stating your
defense in writing, and serve a copy upon the undersigned attomey for the plaintiff within 20 days
after the service of this summons, excluding the day of service, or a default judgment may be
entered against you without notice. A default judgment is one where plaintiff is entitled to what he
asks for because you have not responded [f you serve a notice of appearance on the undersigned
attorney, you are entitled to notice before a default judgment may be entered.

You may demand that the plaint:ff file this lawsuit with the Court. [f you do so, the

demand must be in writing and must be served upon the plainuff. Within 14 days after you serve

SUMMONS - |
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the demand the plaintsff must file this lawsurt with the Court, or the service on you of this

summons and complaint will be void

If you wish to seek the advice of an attormey in this matter, you should do so promptly so

that your written response, if any, may be served on time.

This summons is issued pursuant to Rule 4 of the Supenor Court Civil Rules of the State

of Washington.

DATED this 3 | shday of December, 2002.

SUMMONS - 2

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Davis Wnght Tremaine LLP
Attorneys for Viacom Outdoor, Inc. and A. J.
Webb Construction Company

Davis Wrneht Tremame LLP
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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
[IN AND FOR THE COUNTY OF KITSAP

VIACOM OUTDOOR, INC , a Delaware )
corporation, and A. J. WEBB CONSTRUCTION)
COMPANY, ) No.
)
Plaintiffs/Petitioners, }) LAND USE PETITION AND
) COMPLAINT FOR
Vv }) DECLARATORY JUDGMENT,
} JUST COMPENSATION AND
CLALLAM COUNTY, a Washington municipal) DAMAGES
corporation. }
)
Defendant/Respondent. )

Plaintiffs/petationers Viacom Outdoor, Inc. and A J. Webb Construction Company,
bring this Land Use Petition and Complaint for Declaratory Judgment, Just Compensation and
Damages, alleging as follows:

I. PARTIES, JURISDICTION AND VENUE

1. Plaintiff/petittoner Viacom Outdoor, Inc. (“Viacom”) is a Delaware corporation
doing business in Clallam County, Washington, and is the owner of numerous freestanding
outdoor advertising signs which have been legally erected and permitted. Viacom’s mailing
address is 195 Silver Lane, P.O Box 40190, Eugene, OR 97404 (regional office) and 405
Lexington Avenue, New York, NY 10174

LAND USE PETITION, PETITION AND COMPLAINT - I Davis Wright Tremaine LLP
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2 Plaintiff/petitioner A. J Webb Construction Company ts a property owner in
Clallam County. Washington A.J Webb Construction Company’s mazling address is 300
Webb Road, Sequim, Washington 983872.

3. Defendant/respondent Clallam County is a municipal corporation existing and
operating through and subject to the laws and constitution of the State of Washington. Clallam
County’s mailing address 1s Clallam County Courthouse, 223 East Fourth Street, PO Box 863,
Port Angeles, Washington 98362-0149

4 The court has personal jurisdiction and subject matter jurisdiction over the
claims herein, which arise pursuant to Washington State law, the Washington Constitution,

federal law, and the Untted States Constitution.

5. Venue for this matter is proper in Kitsap County, Washington, pursuant to the
provisions of RCW 36 01 050, which permit an action against any county to be commenced in
the superior court of such county or in the superior court of either of the two nearest judicial

districts. Kitsap County is one of the two nearest judicial districts to Clallam County

Il. FACTS

6 Viacom 1s the owner of a freestanding, double-faced outdoor sign (the “Sign’’) at
261423 Highway 101, Sequim, Washington (at MP 61.41).

7. The Property on which the Sign is located is owned by A. J. Webb Construction
Company (“Webb”) and legally descnbed as:

That portion of the East half of the East half of Section 22,
Township 30 North, Range 4 West, W M. Clallam County,
Washington, described as follows: Beginning at a point on the
Northerly right of way line of Highway No. 9, 20 feet East of the
West line of said East half of the East half; thence Northerly
parallel with said West line 246 feet 6 inches, thence East at nght
angles 575 feet; thence Southerly paralle! with the West line of
said East half of the East half 200 feet; thence East 200 feet to the
true point of beginning; thence East 60 feet; thence South parallel
with the West line of said East half of the East half to the
Northerly nght of way line of Highway No. 9; thence Westerly
along said nght of way line of Highway No. 9 to a point South of
the true point of beginning, thence North to the true point of
beginning (the “Property”).

LAND USE PETITION, PETITION AND COMPLAINT - 2 Davis Wright Tremaine LLP

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8 Viacom has a lease with Webb which entitles Viacom to erect, maintain, and
reconstruct the Sign at this location on the Property for a period ending on Apml 30, 2007,
subject to renewal for an additional period ending on Apmil 30, 2017

9 The Sign was constructed in March, 1993, in compliance with all applicable
local and state laws and pursuant to all applicable permits, including a Clallam County sign
permit issued April 7, 1992 (4BPT91-1542) and a Washington State Department of
Transportation sign permit issued April 2, 1992 (#10480 and #10481).

10. ‘The Sign is within six hundred and sixty feet (660’) of the nearest edge of the
right of way for SR101 and visible from the main traveled way of SRIO1 SR101, at the
location of the Sign, is part of the federal-aid primary system as described in 23 U.S C.

§ 103(b) and is within a commercial and industrial area.

11. The Sign has an area of approximately 288 square feet and a height of 25 feet.

12. ‘The current Clallam County Sign Code was adopted by the Clallam County
Board of Commissioners in 2000 by passage of Ordinance No. 694, which is codified im the
Clallam County Code as Chapter 33.57 (“County Sign Code”).

13. 7": 1 pre-existing, legally erected, non-conforming,
freestanding signs under the County Sign Code 1s 128 square feet in area with a maximum
height of 15 feet.

14 The County Sign Code provides that the owner of a non-conforming sign may
elect to bring the sign into compliance with the area and/or height standards of the Sign Code
after an amortization period that begins e:ther on the date of the onginal sign building permit
and runs for a term of one year for every $1,000 of project value claimed on the original sign
building permit, or, alternatively, two years from the effective date (i e., until June 23, 2002),
whichever 1s greater

15. Pursuant to the provisions of the County Sign Code, the amortization pened for

the Sign expired June 23, 2002.

LAND USE PETITION, PETITION AND COMPLAINT - 3 Davis Wright Tremaine LLP

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16 On September 13, 2002, Clallam County issued an Order to Cease and Desist to

Viacom, requiring Viacom to reduce the herght of the sign to fifteen feet and the area of the

sign to 128 square feet A copy of the Order to Cease and Desist 1s attached to this Petition and ~ |

Complaint as Attachment A.

17. On September 30, 2002, Viacom filed a Request for Appeal of the
September 13, 2002 Cease and Desist Order. The Request for Appeal was considered timely
recerved by the County

18. The Hearing Examiner for Clallam County Order
and Appeal, invited the parties to define the issues and stipulate to undisputed facts, and on
December 10, 2002, issued his Findings and Conclusions and Decision (“Decision”) in this
matter See Attachment B to this Petition and Complaint. No open record hearing was
determined necessary and no such hearing was held.

19. Based upon the stipulated and undisputed facts, the Examiner denied Viacom’s
appeal, concluding that the Sign does not comply with the area and height requirements of the
County Sign Code. The Examiner concluded that he had no junsdiction to decide the
compensation and other claims raised by Viacom based upon the State Scenic Vistas Act
(RCW Ch. 47 42) and various additional state and federal constitutional and statutory bases

20. The variance procedure in the County Sign Code allows the area and height to
exceed the County Sign Code standards by no more than 10%.

21.  Viacom’s intent is to keep rts Sign at its present area and height. Viacom and
Clallam County agreed that the variance process is unlikely to accomplish this goal. Clallam
County agreed not to assert that Viacom failed to exhaust its administrative remedies with
regard to the issue of seeking a vanance

22. The requirement to reduce the size of the Sign to 128 square feet in area and 15
feet in height requires the removal of the existing Sign.

23 The fair market value of the Sign and the nght to have the Sign on the Property

is substantial, with a value in an amount to be proven at trial.

LAND USE PETITION, PETITION AND COMPLAINT - 4 Davis Wnght Tremasne LLP

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II. FIRST CAUSE OF ACTION:
LAND USE PETITION

24. — Plaintiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint.

25. The Hearing Examiner’s Decision ts a “land use decision” subject to judicial
review under the Land Use Petition Act, RCW Ch. 36.70C.

26 Plaintiffs/petitioners have standing to bring a land use petition because they
have been aggneved, adversely affected and prejudiced by such land use decision, and have
exhausted their administrative remedies to the extent required by law.

27 If it is Clallam County’s intent to remove the Sign dunng the pendency of this
Petition and Complaint, plamtffs/petitioners assert that they are entitled to a stay of such action
by Clallam County pursuant to the critena in RCW 26.70C.100 and reserve the right to make
such a motion and to set forth a statement of the grounds for the stay and any additional facts
that may be relevant

28 Plaintiffs/petitioners are entitled to relief under the Land Use Petition Act
because Clallam County and the Examiner failed to follow the requirements for compensation
in the State Scenic Vistas Act (RCW Ch 47 42), fatled to honor plaintiffs’/petitioners’ vested
nghts under Washington law, violated the prohibitions against taking of property without just
compensation under Article 1, Section 16 of the Washington Constitution and the Fifth and
Fourteenth Amendments of the U S. Constitution, violated the plamtiffs’/petitioners’ mghts to
substantive due process under Article 1, Section 3 of the Washmgton Constttution and the
Fourteenth Amendment to the U 8. Constitution, violated the plaintiffs’/petttioners’ nghts to
freedom of speech under Article 1, Section 5 of the Washington Constitution and the First and
Fourteenth Amendment to the U S. Const:tution, violated the plaintiffs’ /petitioners’ civil rights
under 42 US € § 1983, vioiated their mghts under the Uniform Relocation and Assistance and
Real Property Act of 1970, as amended, 42 US.C § 4601, er seg, and committed acts entitling

plaintiffs/pettioners io damages under RCW Chapter 64.40 For these same reasons, such

LAND USE PETITION, PETITION AND COMPLAINT - 5 Davis Wnght Tremaine LLP

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Decision 1s net supported by substantial evidence and 1s a clearly erroneous application of the

law to the facts.

IV. SECOND CAUSE OF ACTION:
SCENIC VISTAS ACT

29 Platntiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint.

30. The Sign, because of rts location and permitting in accordance with state and
local law, is protected by the provisions of the State Scenic Vistas Act, RCW Ch. 47.42.

31 The State Scenic Vistas Act requires that just compensation shall be pard upon

“the removal of any existing sign pursuant to the provisions of any resolution or ordinance of

any county, city or town of the state of Washington if such sign was erected subsequent to
May 10, 1971 (the effective date of the Scenic Vistas Act of 1971), in compliance with existing
state and locallaw RCW 47.42 107(1)(b)

32 Such compensation shall be paid in the manner provided in RCW 47 42 102(2)
and must be paid in advance of the removal of Viacom’s Sign.

33.  Ifno agreement can be reached between the parties as to the amount of such
compensation, it shall be determined by judicial proceeding.

34 Clallam County’s Order to Cease and Desist and the Exammer’s Decision make
no provision for the payment of just compensation to the plaintiffs/petitioners in accordance
with the Scenic Vistas Act.

35 Clallam County 1s, therefore, prohibited, in the absence of payment of just

compensation, from ordering the Sign in its current configuration removed.

Vv. THIRD CAUSE OF ACTION:
VESTED RIGHTS

36 Plaintiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition

and Complaint

LAND USE PETITION, PETITION AND COMPLAINT - 6 Davis Wright Tremame LLP

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37 Under well-established Washington law, plamtffs/petstioners have a vested
nght to maintain the Sign in accordance with the County ordinances and regulations in effect
on the date such Sign was applied for

38. On the date that Viacom (or its predecessor in interest) applied for permits to
construct the sign m Clallam County, the Sign complied with all applicable Clallam County
ordinances and regulations and was legally established.

39. Clallam County 1s, therefore, prohibited, in the absence of payment of just

compensation, from ordering the Sign im its current configuration removed

VI. FOURTH CAUSE OF ACTION:
UNCONSTITUTIONAL TAKING

40. Plaintiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint

41 Clallam County’s Order to Cease and Desist constitutes a taking of
plaintiffs’/petitioners’ property rights without just compensation under Article 1, Section 16 of
the Washington Constitution and the Fifth and Fourteenth Amendments of the U.S.
Constitution

42.  Plaintiffs/petitioners are entitled to the payment of just compensation and

damages for the removal of the Sign in its cwrrent configuration.

VIt. FIFTH CAUSE OF ACTION:
SUBSTANTIVE DUE PROCESS

43 Plaintiffs/petitioners incorporate by reference paragraphs 1-23 of tis Petition
and Complaint.

44, Clallam County’s Order to Cease and Desist and the Examuner’s Decision
constitute a violation of plaintiffs’/petitioners’ mghts to substantive due process under Article |,

Section 3 of the Washington Constitution and the Fourteenth Amendment of the U.S

Constitution.

45 Plaintiffs/petitioners are entitled to the invalidation of the Order and Decision or

to the payment of damages for the removal of the Sign m tts current configuration.
LAND USE PETITION, PETITION AND COMPLAINT - 7 Davis Wright Tremaine LLP

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Vill. SIXTH CAUSE OF ACTION:
FIRST AMENDMENT

46 Plamtiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint

47 Clallam County’s Order to Cease and Desist and the Examiner’s Decision
constitute a violation of plaintiffs’/petitioners’ rights to freedom of speech under Article 1,
Section 5 of the Washington Constitution and under the First and Fourteenth Amendment of the

U.S. Constitution.

IX. SEVENTH CAUSE OF ACTION:
42 U.S.C. §1983

48. _ Plaintiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint.

49. Clallam County’s Order to Cease and Desist and the Examiner's Decision
violate and infringe upon plaintiffs’/petitioners’ crvil mghts pursuant to 42 U S.C. § 1983, er
seq , because of the County’s actions cited in the Fourth, Fifth, and Sixth Causes of Action,
above

50 Plaintiffs/petitioners are entitled to the payment of damages for the removal of
the Sign in its current configuration and are entitied to the payment of attorneys’ fees, costs and

expenses.

X. EIGHTH CAUSE OF ACTION:
42 U.S.C. § 4601, er seq.

51 Plantiffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint.

§2 Clallam County’s Order to Cease and Desist and the Examimer’s Decision
violate the requirements for the payment of compensation for the acquisition of any interest in
real property pursuant to the Umform Relocation and Assistance and Real Property Acquisition

Act of 1970, as amended, 42 USC. § 4601, et seg

LAND USE PETITION, PETITION AND COMPLAINT - 8 Davis Wright Tremame LLP
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XI. NINTH CAUSE OF ACTION:
RCW CHAPTER 64.40

53.  Plainttffs/petitioners incorporate by reference paragraphs 1-23 of this Petition
and Complaint.

54. Clallam County’s Order to Cease and Desist and the Exarminer’s Decision
constitute acts of an agency which are arbitrary, capricious, unlawful or exceed Jawful authority
and, therefore, entitle plaintiffs/petitioners to damages, reasonable costs, and attorneys’ fees
under RCW Chapter 64.40

PRAYER FOR RELIEF

Plaintifis/petitioners, having stated their clams, do hereby pray for the following relief.

A. That the Court grant the petition under Land Use Petition Act;

B That the Court enter judgment declaring that the County Sign Code, as applied,
and the County’s actions are 1n violation of plaintiffs’/petrtioners’ mghts under the state and
federal statutes and state and federal constitutional provisions cited in this Petition and
Complaint;

C. That the Court stay the County’s action in respect to the Sign pending a final

decision on this Petition and Complammt,

D. That the Court enter an award to plaintiffs/petrtioners for just compensation and
damages,
E. That the Court award plaintiffs/petitioners attorneys fees pursuant to the

requirements of 42 US C. § 1983, et seq, and RCW Chapter 64 40
F That the Court award such other and further relief as 1t determines appropriate.

DATED this | K day of December, 2002

Davis Wright Tremaine LLP
Attorneys for Viacom Outdoor, Inc and Adrian J
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py WS ki
Johf\E Keegan, WSBA #0279
Bruce E. H. Johnson, WSBA #07667
LAND USE PETITION. PETITION AND COMPL T-9 Davis Wreht Tremaine LLP

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DEC 1 2 2002
KEEGAN BEC 70 i002
BEFORE THE HEARINGS EXAMINER
CLALLAM COUNTY
FOR CLALLAM COUNTY DEPT OF COMMUNITY DEVELOPMENT
In the Matter of the Appeal of ) NO. VIO2002-00030
)
ViaCom Outdoor, Inc. ) FINDINGS AND
) CONCLUSIONS & DECISION
of a Cease & Desist Order for a Sign } (CORRECTED 12-10-02)
)

Note. This corrected decision replaces all previous decisions that may have been

received by the Attorneys in this matter This decision is the true and correct final
deciston issued on December 10 2002.

. SUMMARY OF DECISION -
The appeal is DENIED. The sign does not comply with the Clallam County Sign Code.
Issues related to compensation, violation of vested rights, unconstitutional taking of
property, violations of substantive due process, violations of civil rights under 42 U.S.C.
Section 1983, violations of the Uniform Relocation and Assistance and Real Property

Acquisition Act of 1970, 42 US C 4601 ef seg are outside the jurisdiction of the Hearing
Examiner to decide.

SUMMARY OF RECORD
Following a review of the administrative order and appeal, the Hearing Examiner
conducted a telephone conference on October 30, 2002, to help define the issues on
appeal and determine the appropriate procedure for resolution of those issues. ‘The
parties agreed that each would submit proposed findings and an identification of issues.

The parties agreed that the jurisdiction of the Hearing Examiner should also be addressed
in that pleading.

Following a review of the pleadings, the Hearing Examiner conducted a second telephone
conference on November 26, 2002. These findings, conclusions and decision are issued
foliowing that telephone conference. The parties stipulated to the findings set forth
below. Since no facts are in dispute, no open record appeal hearing was held. The

parties agreed that the Hearing Examiner should issue a decision based upon the agreed
facts stated below.

Exhibits.

1. Order to Cease and Desist, dated 9/13/2002.
2 Request for Appeal, dated 9/30/2002.

Pleadings
1. Appellant’s Proposed Findings and Identification of Issues, dated 11/13/2002:

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2. Clallam County’s Proposed Findings of Fact, Conclusions of Law and
Identification of Issues, dated 1 1/22/2002,
3 Hearing Examiner Pre-Heanng Order, dated 10/30/2002.

Mr. John Keegan. Attomey at Law, of Davis Wnght Tremaine LLP, represented the
Appellant; Ms. Lauren Erickson, Deputy Prosecuting Attorney, represented Clallam
County

FINDINGS OF FACT

I Viacom Outdoor, Inc 1s the owner of a freestanding, double-faced outdoor sign
(the “Sign’”) at 261423 Highway 101, Sequim, Washington (at MP 61 41)!
Exhibits | & 2; Appellant’s Proposed Findings & Identification of Issues,

County's Proposed Findings of Fact, Conclusions of Law and Identification of
Issues

2. Viacom Outdoor, Inc. has a lease with the owner of the Property, Adrian J. Webb
(300 Webb Road, Sequim, WA 98382), which entitles Viacom to erect, maintain,
and reconstruct the Sign at this location on the Property for a period ending on
April 30, 2007, subject to renewal for an additional period ending on April 30,
2017. Exhibits 1 & 2; Appellant's Proposed Findings & Identification of Issues,

County’s Proposed Findings of Fact, Conclusions of Law and Identification of
issues.

3 The Sign was constructed in March, 1993, in compliance with all applicable local
and state laws and pursuant to all applicable permits, including a Clallam County
sign permit issued April 7, 1992 (HBPT91-1542). Exhibits | & 2; Appellant’s
Proposed Findings & Identification of Issues, County's Proposed Findings of
fact, Conclusions of Law and Identification of Issues

4. The Sign is within six hundred and sixty feet (660’) of the nearest edge of the
night of way for SR101 and visible from the main traveled way of SR101. SR101,
at the location of the Sign, is part of the federal-aid primary system as described
in 23 U.S.C. section 103(b) and is within a commercial and industrial area.

! The property on which the sign is located is legally described as:
That portion of the East half of the East half of Section 22, Township 30 North,
Range 4 West, W M., Clallam County, Washington, described as
follows-Beginning at a point on the Northerly nght of way line of Highway No 9,
20 feet East of the West line of said East half of the East half; thence Northerly
parallel with said West line 246 feet 6 ches; thence East at nght angles 575 feet;
thence Southerly paralle! with the West line of said East half of the East half
200 feet; thence East 200 feet to the true point of beginning; thence East 60 feet;
thence South parallel with the West line of said East half of the East haif to the
Northerly nght of way line of Highway No 9, thence Westerly along said nght of
way line of Highway No 9 to a point South of the true point of beginning; thence
North to the true pot of beginning (the “Property”)

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Exhibits I & 2, Appellant's Proposed Findings & Identification of Issues,

County's Proposed Findings of Fact, Conclusions of Law and Identification of
issues

5 The Sign has an area of 288 square feet and a height of 25 feet Exhibuts ] & 2;
Appellant’s Proposed Findings & Identification of Issues; County's Proposed
Findings of Fact, Conclusions of Law and Identification of Issues

6. The maximum allowable area for pre-existing, legally erected, non-conforming,
freestanding signs is 128 square feet with a maximum height of 15 feet. °

7. Clallam County Sign Code provides that the owner of a non-conforming sign may
elect to bring the sign into compliance with the area and/or height standards of the
sign code after an amortization period that begins either on the date of the original
sign building permit and runs for a term of one year for every $1,000 of project
value claimed on the original sign building permit, or, alternatively, two years
from the effectrve date (1.e., until June 23, 2002), whichever is greater

8 The amortization period for the Sign expired June 23, 2002. Exhibits I & 2;
Appellant's Proposed Findings & Identification of Issues, County's Proposed
Findings of Fact, Conclusions of Law and Identification of Issues

9 On September 13, 2002, Clallam County issued a Cease and Desist Order to
Viacom Outdoor Advertising. The Cease and Desist Order required Viacom to
undertake the following corrective measure:

Reduce the height of the sign to fifteen feet and reduce the size
of the sign to 128 square feet in area.

10. On September 30, 2002, Viacom filed a Request for Appeal of the September 13,
2002 Cease and Desist Order. The Request for Appeal was timely received.” The
appeal raises eight issues:

a) Is the Sign in conformity with the sign area and sign height requirements
of Ordinance No. 694 (County Sign Code)?

b) Can Clallam County require the removal of the Sign under Ordinance
No 694 without paying Viacom “just compensation” as required by the

provisions of the State Scenic Vistas Act, namely RCW 47.42.102, .103
and .107?

2. Admunistrator of the Department of Community Development agrees that where service of a notice is
by marl, three days shall be added to the prescribed fourteen day appeal penod as provided for in
Superior Court Civil Rule 6(e).

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c) Does the County's action constitute a violation of Viacom's vested rights
i its state and local permits?

d) Does the County’s action constitute an unconstitutional taking of property
without just compensation?

e) Does the County’s action constitute a violation of Viacom’s constitutional
rights to substantive due process?

f) Does the County’s action constitute a violation of Viacom’s civil nghts
under 42 U.S.C. § 1983?

g) Does the County’s action constitute a violation of the Uniform Relocation

and Assistance and Real Property Acquisition Act of 1970, as amended,
47 ULS.C. § 4601 ef seq?

h) What amount must the County pay Viacom in just compensation and
damages for the removal) of the Sign?

Exhibits 1 & 2, Appellant’s Proposed Findings & Identification of Issues;

County’s Proposed Findings of Fact, Conclusions of Law and Identification of
Issues

1] Viacom's intent 1s to keep its sign at its present area and height Viacom
and Clallam County agree that the variance process 1s unlikely to
accomplish this goal. Clallam County agrees that the County will not
assert that Viacom failed to exhaust its administrative remedies with
regard to the issue of seeking a vanance

CONCLUSIONS
Jurisdiction
This appeal of an order to cease and desist 1s an administrative order issued by the
Department of Community Development. Appeals of administrative orders are generally
within the jurisdiction of the Hearing Exammer to hear and decide in accordance with the
laws of the State of Washington and the ordinances of Clallam County.

This appeal was initiated following the issuance of a Notice of Violation and Cease and
Desist Order signed by a designee of the County administrator of the Zoning Code. The
letter described the appeal procedures and referenced Chapter 26 10.610 of the Clallam.
County Code. The Heanng Examiner is granted junsdiction to hear certain issues of this
appeal under Section 33 33 610 That section authorizes the Hearing Examiner to review
“any order, requirement, deciston or determination” of the administrator made when
implementing the Zoning Code The review authority of the Hearing Examiner extends
to every directive issued by the County administrator when that directive contains orders
or determinations such as the letter issued to the Appellant. CCC 33 33 010

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However, the jurnsdictron of the Hearing Examiner is restncted to the review of the
administrative action. The Hearing Examiner has no authority to approve a land use
action, grant equitable relief, or order compensation under CCC Chapter 33. The Hearing
Examiner may only decide whether the administrator made an error in his “order,
requirement, decision or determination” based upon his review of the Clallam County
Code, the Revised Code of Washington and relevant cases decided by the courts

The Hearing Examiner may not rule on issues outside his jurisdiction or authority. The
Hearings Examiner has limited jurisdiction to hear and decide upon only those matters
that are specifically delegated to him by the County legislative authority. The Hearing
Examiner does not have authority to consider equitable or constitutional issues, and
cannot hear challenges to the validity ofthe code Chaussee v. Snohomish County
Council, 38 Wn. App. 630, 636-637 (1984), Woodinville Water District vy King County,
105 Wn App 897 906 (2001), CCC 26 10 620(2)(b); Chapter 26 04 CCC

Criteria for Review
In order to reverse or remand an Administrative Decision, the Hearing Examimer must

find that the Appellant has demonstrated at least one of the following standards of
review:

1 The decision is an erroneous interpretation of the law;

2. The decision 1s not supported by evidence that 1s substantial when viewed in light
of the whole record;

3 The decision 1s a clearly erroneous application of the law to the facts.

Under the “clearly erroneous” standard of review, the Hearings Exammer examines the
entire record in light of the policy set forth in the ordinance and reverses the decision
only if he has a definite and firm conviction that the County made a mistake. See
Buttnick v. Seattle, 103 Wn. 2d 857 (1986) When applying the clearly erroneous
standard, the Hearings Examiner must not substitute his own judgment for the judgment
of the County. See Buechel v. Department of Ecology, 125 Wn 2d 196 (1994)

Thus, in the instant case, the Hearings Examiner’s duty is to review the entire record in
light of the policies articulated in the Clallam County Code and to uphold the County
decision unless the Examiner has a definite and firm conviction that the County made a
mistake. If the Examiner concludes that a mistake was made such that the decision was
clearly erroneous, he must reverse the County’s decision. To properly review the
County’s decisions, the Examiner must decide what facts are important to each decision,
determine those facts with reference to specific exhibits or testimony, draw conclusions

from those facts, and make a decision based on those conclusions. See, Weyerhaeuser v
Pierce County, 124 Wn 2d 26 (1994)

Conclusions Based on Facts
The sign is not in compliance with the Clallam County Code and does not qualify

as a legally existing, non-conforming sign. The sign had the status of a legally
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existing, non-conforming sign until June 23, 2002, which is the date that non-
conforming signs were to brought into compliance with the sign code. Since the
sign exceeds the height and area allowed under the sign code, 1t 1s in violation of
the sign code. The answer to Appellant’s Issue 1 is “No”. Thus, the appeal of
Issue 1 is denied. Findings of Fact No.I,2 & 3, Finding of Fact 10 (a)

2. The Hearing Examiner has no jurisdiction to decide tssues related to
compensation, violation of vested rights, unconstitutional taking of property,
violations of substantive due process, violations of civil nghts under 42 US C.
Section 1983, violations of the Uniform Relocation and Assistance and Real
Property Acquisition Act of 1970, 42 U S.C. 4601 ef seg The answer to
Appellant’s Issues No 2, 3, 4,5, 6, 7 & 8 is “No answer, because the issue is
outside the jurisdiction of the Clallam County Hearing Examiner” Thus, the
appeal on those issues ts dismissed, without prejudice. Findings of Fact No 5 &
6, Finding of Fact 10 (6) — fg;

ce
Decided this!{)” day of December 2002

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THEODORE PAUL HUNTER, Hearing Examiner

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